Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 1 of 11 PageID# 403
Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 2 of 11 PageID# 404
Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 3 of 11 PageID# 405
Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 4 of 11 PageID# 406
Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 5 of 11 PageID# 407
Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 6 of 11 PageID# 408
Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 7 of 11 PageID# 409
Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 8 of 11 PageID# 410
Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 9 of 11 PageID# 411
Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 10 of 11 PageID# 412
      Case 1:14-cv-01187-TSE-JFA Document 27 Filed 12/19/14 Page 11 of 11 PageID# 413




                                           CERTIFICATE OF SERVICE

                   I hereby certify that on December 19, 2014, I electronically filed the Monthly Operating

        Report for November 2014 with the Clerk of Court using the CM/ECF system, which will then

        send a notification of such filing (NEF) to all counsel of record.


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